                Case 3:17-cv-07210-SK Document 424-1 Filed 02/01/24 Page 1 of 3




 1                                UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2
 3
      MARTIN CALVILLO MANRIQUEZ,
 4    JAMAL CORNELIUS, RTHWAN                            No. 17-7210
      DOBASHI, and JENNIFER CRAIG on behalf
 5    of themselves and all others similarly situated,
 6                            Plaintiffs,                DECLARATION OF
 7                                                       RICHARD CORDRAY
               v.
 8
      UNITED STATES DEPARTMENT OF
 9    EDUCATION and MIGUEL CARDONA, in
      his official capacity as Secretary of Education,
10
11                            Defendants.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



     Declaration of Richard Cordray
     3:17-cv-7210 SK
                Case 3:17-cv-07210-SK Document 424-1 Filed 02/01/24 Page 2 of 3




              I, Richard Cordray, hereby declare under the penalty of perjury as follows:
 1
 2   1.       I am over the age of 18 and competent to testify to the matters herein.

 3   2.       I was appointed the Chief Operating Officer of Federal Student Aid (“FSA”) by U.S.
 4
     Secretary of Education Miguel Cardona effective May 4, 2021.
 5
     3.       I certify that I am duly qualified and authorized by the Department to make the
 6
 7   statements contained in this Declaration about the Department’s report on its compliance with

 8   the preliminary injunction entered in this matter. The statements contained herein are based on
 9   either my personal knowledge as an employee of the Department or on information reported to
10
     me by FSA officials who created and/or are familiar with the pertinent records.
11
     4.       As the Chief Operating Officer, I oversee the management of FSA. Through my duties in
12
13   this role and my discussions with our Department colleagues working on borrower defense

14   issues, I am familiar with the Department’s efforts to comply with the preliminary injunction
15   entered in this lawsuit, including the steps taken by the Department since the order entered by
16
     this Court described in the following paragraph.
17
     5.       I am also aware of the order entered by this Court on August 19, 2019, directing the
18
19   Department to produce a full report on its compliance with the preliminary injunction and to

20   answer certain questions about how many members in the class certified in this case received
21
     incorrect notices that payments were due on their loans, how many class members were subject
22
     to further collection or enforcement efforts based on their receipt of an incorrect notice, and the
23
24   specific steps the Department has taken to remedy these issues.

25   6.       I am further aware of the order entered by this Court on October 24, 2019, directing the
26   Department to provide status reports about its attempts to comply with the preliminary injunction
27
     on a monthly basis, with certain specified information.
28


     Declaration of Richard Cordray
     3:17-cv-7210 SK
                                                        1
                Case 3:17-cv-07210-SK Document 424-1 Filed 02/01/24 Page 3 of 3




     7.       To comply with the Court’s orders, FSA has taken action to collect and analyze data from
 1
 2   the federal loan servicers that manage federal student loan borrowers’ loan records to respond to

 3   the questions in the Court’s order and to respond to such information, such as establishing
 4
     ongoing compliance and communications monitoring processes, as well as continuing the
 5
     compliance monitoring work already in progress before the Court issued its order.
 6
 7   8.       A report detailing the actions described in the prior paragraph is attached as Exhibit A.

 8   9.       The report was drafted here at FSA and I am advised that it accurately describes the
 9   Department’s analysis of its compliance with the preliminary injunction order as of February 1,
10
     2024.
11
     10.      In addition to the corrective actions described above, I am aware that FSA’s quality
12
13   assurance teams were instructed by the immediate past Acting Chief Operating Officer to initiate

14   a thorough audit of the cause(s) and contributing factors relating to any borrower account that
15   went into default following the actual or attempted submittal of a borrower defense application.
16
17
     I declare under penalty of perjury, pursuant to the provisions of 28 U.S.C. § 1746, that the
18
     foregoing is true and correct.
19
20   Executed on this 1st day of February, 2024.
21
22
23
                                            Richard Cordray
24                                          Chief Operating Officer
                                            Office of Federal Student Aid
25                                          United States Department of Education
26
27
28


     Declaration of Richard Cordray
     3:17-cv-7210 SK
                                                       2
